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7                                    UNITED STATES DISTRICT COURT
8                                   EASTERN DISTRICT OF CALIFORNIA
9

10                                                   )   No. 2:08-cr-00064-MCE
     UNITED STATES OF AMERICA,                       )
11                                                   )   STIPULATION AND ORDER TO
                      Plaintiff,                     )   CONTINUE THE FEBRUARY 3, 2011
12                                                   )   STATUS CONFERENCE AND EXCLUDE
              Vs.                                    )   TIME
13                                                   )
     RICKY FU LONG WU, et al.,                       )   Honorable Morrison C. England
14                                                   )
                      Defendants.                    )
15                                                   )
                                                     )
16                                                   )
                                                     )
17                                                   )
                                                     )
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19         IT IS HEREBY STIPULATED by and between Assistant United States Attorney, Michael
20   Beckwith, counsel for the Plaintiff, and below signed counsel for each of the two defendants in
21   the above captioned case, that the status conference currently scheduled for February 3, 2011, at
22   9:00 a.m., is continued to March 17, 2011 at 9:00 a.m., or as soon thereafter as is convenient for
23   the Court.
24   ///
25   ///
26
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1          This continuance is sought in order for all counsel to discuss the fact that related state

2    charges were filed in Butte County pertaining to this case, for defense counsel to review the

3    discovery in that and this case, to permit on-going investigation, defense preparation and

4    settlement negotiations. Additionally, a third defendant has recently appeared in this case.

5    Consequently, he needs the additional time to review the discovery in this case. The government

6    and defense are jointly requesting this continuance and agree that the ends of justice are served

7    by granting such continuance and outweigh the best interests of the public and the defendants in

8    a speedy trial.

9          The Court interpreter coordinator, Yolanda Riley Portal, has been notified of this

10   continuance and has indicated that March 17, 2011, is an available date for the interpreter’s

11   office.

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              Case 2:08-cr-00064-MCE Document 98 Filed 02/07/11 Page 3 of 3



1         IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act continues to

2    be excluded from February 3, 2011, to March 17, 2011, pursuant to Title 18,United States Code,

3    Sections 3161(h)(7)(A) and (B) (iv), Local Code T-4.

4         IT IS SO STIPULATED.

5
     Dated: February 2, 2011        __/s/_________________
6                                    STEVEN F. GRUEL
                                    Attorney for Candy Wu
7

8
     Dated: February 2, 2011      _____/s/______________
9                                  TED W. CASSMAN
10
                                   Attorney for Chi Keung Hui

11
     Dated: February 2, 2011       _/s/__________________
12                                  MICHAEL BECKWITH
                                    Attorney for United States of America
13

14                                              ORDER
15

16     IT IS SO ORDERED.
     DATED: February 4, 2011
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                                             __________________________________
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                                             MORRISON C. ENGLAND, JR
19                                           UNITED STATES DISTRICT JUDGE

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